           Case 1:20-cv-02471-FYP Document 12 Filed 12/29/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


TERRI D. WRIGHT

               Plaintiff,

      v.                                          Civil Action No. 20-2471 (FYP)

EUGENE & AGNES E. MEYER
FOUNDATION, et al.,

               Defendants.



                                          ORDER
      For the reasons set forth in the Memorandum Opinion, it is this, 29th day of December,

2021, hereby

      ORDERED that Defendants’ Motion to Dismiss is GRANTED; and it is further

      ORDERED that the Clerk of Court shall close this case.

      SO ORDERED.




                                                         ____________________________
                                                         Florence Y. Pan
                                                         United States District Judge
